Case 14-11987-CSS Doc 843 Filed 05/29/18 Page 1 of 7

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re: n Chapter 11
FCC Holdings, Inc., e_t al., Case No. 14-11987 (CSS)
Debtors.
AFFIDAVIT OF SE-RVICE

I, Gene Matthews, depose and say that l am employed by Reliable Companies, provided
noticing services in the above-captioned case.

On l\/Iay 23, 2018, at my direction and under my supervision, employees of Reliable caused to
be served the following document by via first class mail on the service list attached hereto as

Exhibit A:

 

Order Scheduling Omnibus Hearings. All hearings Will be held at US
05/23/2018 §U Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,

Delaware . Omnibus Hearings scheduled for 6/25/2018 at 10:00 AM.
Signed on 5/23/2018. (CAS) (Entered: 05/23/2018)

 

 

 

 

Gene Matthews

Dated: May 29, 2018

State of Delaware
County of NeW Castle

Subscribed and SWorn to (or affirmed) before me on this 29th day of l\/Iay 2018, by Gene
Matthews, proved to me on the basis of satisfactory evidence to be the person(s) Who appeared
before me.

    

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Case 14-11987-CSS Doc 843 Filed 05/29/18 Page 2 of 7

EXHIBIT A

CaS€ 14-11987-CSS DOC 843 Filed 05/29/18

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Case 14-11987-CSS Doc 843 Filed 05/29/18 Page 6 of 7

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Case 14-11987-CSS Doc 843 Filed 05/29/18 Page 7 of 7

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